CaS : - - -
e 2 03 cv 02649 STA-tmp Document 44 Filed 06/03/05 Page 1 of 5 age|D 106

  
  

Fll.ED B`t’ D.C.

IN THE UNITED STATES DISTRICT COU

FoR THE wESTERN DISTRICT oF TENNE§§T§P!UN “3 PH 2= |3
wESTERN DIVISIoN

Roee_er avsz ;Laoi_so
W.o. os: m residents

 
 

   

MEMPHIS-SHELBY COUNTY
AIRPORT AUTHORITY, et al.,

Plaintiffs,

CONSOLIDATED
UNITED STATES FIRE
lNSURANCE CO.,

)
)
)
)
)
v. ) No. 03:2649-B-Ph
)
)
)
)
Defendant. )
)

 

ONEBEACON AMERICAN
lNSURANCE COMPANY, et al.,

Plaintiffs,

JACO AIRFIELD CONSTRUCTION,

)
)
)
)
)
v. ) No. 04:2432-B-An
)
)
INC., et al., )

)

)

Defendants.

 

()RDER GRANTING PLAINTIFFS’ MOTION FOR LEAVE TO FILE A REPLY TO
DEFENDANT JACO AIRFIELD CONSTRUCTION, INC.’S RESPONSE TO
PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES

 

This matter is before the Court on Plaintiffs’ Motion for Leave to File a Reply to
Defendant JACO Airfield Construction, lno.’s Response to Plaintiffs’ Motion for Attorneys’
Fees. Upon consideration of the motion, the briefs Subrnitted by counsel, and the entire record,

the Court finds that OneBeacon’s motion should be granted

Thie document entered on the dockets et in empl'lanca
with Rute 58 and/or 79{2.) FRCP on __§Q_E.Q§-

Case 2:03-cV-02649-STA-tmp Document 44 Filed 06/03/05 Page 2 of 5 Page|D 107

lt is, therefore, ORDERED that Plaintiffs’ Motion for Leave to File a Reply to Defendant

JACO Airiield Construction, lnc.’s Response to Plaitniffs’ Motion for Attorneys’ Fees is

granted Plaintiffs shall have seven (7) days from entry of this Orcler in Which to file their reply.

M

U.S. MAGISTRATE JUDGE

june § ! peg

DATE

UNTED sTAETS DISTRCT COURT- WESTERNDISTCTRI oF'TNi\I'ESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:03-CV-02649 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Jeremy G. Alpert
GLANKLER BROWN
One Cornmerce Sq.
Ste. 1700

1\/lemphis7 TN 38103

Stephen D. Craney

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Williarn O. Luckett

ROSSIE LUCKETT PARKER & R]DDER
1669 Kirby PkWy

Ste. 106

1\/lemphis7 TN 38120

Jerry B. MoNally

MCKENNA LONG & ALDRlDGE, LLP
303 Peaohtree St.7 NE

Ste. 5300

Atlanta, GA 30308

Jennifer 1\/1. Bermel

ROSSIE LUCKETT PARKER & R]DDER
1669 Kirby PkWy

Ste. 106

1\/lemphis7 TN 38120

R. Alan Pritohard

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

J. Brook Lathrarn

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Case 2:03-cV-02649-STA-tmp Document 44 Filed 06/03/05 Page 4 of 5 Page|D 109

Jennifer A. Sink

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

Molly Glover Crain

LEITNER WILLIAMS DOOLEY & NAPOLITAN
254 Court Ave.

Second Floor

1\/lemphis7 TN 38103

Larry Montgornery
GLANKLER BROWN, PLLC
One Cornmerce Square

Suite 1700

1\/lemphis7 TN 38103

Alan B. Easterly

LEITNER WILLIAMS DOOLEY & NAPOLITAN
801 Broad St.

Third Floor

Chattanooga, TN 37402--262

J ames W. Cook

CARD COOK & HOLT
1707 Kirby Parkway
Ste. 200

1\/lemphis7 TN 38119

R. Grattan Brown
GLANKLER BROWN, PLLC
One Cornmerce Square

Suite 1700

1\/lemphis7 TN 38103

J ames W. Bruner

BROWN HAY & STEPHENS
205 S. 5th St.

Ste. 700

Springfield7 IL 62705--245

Osoar C. Carr

GLANKLER BROWN, PLLC
One Cornmerce Square

Suite 1700

1\/lemphis7 TN 38103

Case 2:03-cV-02649-STA-tmp Document 44 Filed 06/03/05 Page 5 of 5 Page|D 110

Frank B. Thacher

BURCH PORTER & JOHNSON PLLC
130 N. Court Ave.

1\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

